         Case 1:21-mj-00182-KJM Document 2 Filed 03/07/21 Page 1 of 2                                                  PageID #: 26
                                                                                                                           FILED IN THE
                                                                                                                  UNITED STATES DISTRICT
                                                                                                                                 DISTRICT COURT
                                                                                                                                          COURT
                                                                                                                       DISTRICT OF HAWAII QT
                                                                                                                     Mar 07, 2021, 7: 18ani
                                                                                                                   Michelle
                                                                                                                   M           Rynne, C
                                                                                                                     ic he lle Rynne, Clerk   off Court
                                                                                                                                        le rk o   Court
AO 93C (08/18) Wanant by Telephone or Otha R.eliable Eectronic Means (Pap 2)

                                                                          Return
Case No.:                              Date and time warrant executed:                 Copy of warrant and inventory left with:
 21-00182 KJM                          February 18, 2021 at 1200                        Device
Inventory made in the presence of:
                                           N/A
Inventory of the property taken and name(s) of any person(s) seized:

     Digital data forensically extracted from device.




                                                                       Cerdftcatlon


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.


Date:    March 7, 2021
                                                                                ~ c u l l n g 0Jll«r'1 sfgnatur,

                                                                           Ryan K. Faulkner, Special Agent, HSI
                                                                                                 Printed name and title
          Case 1:21-mj-00182-KJM Document 2 Filed 03/07/21 Page 2 of 2                                                      PageID #: 27




AO 93C (08/18) Wanunt by Telephone or Other Reliable Eteclronic Means                     0 Original                O Duplicate Original


                                           UNITED STATES DISTRICT COURT
                                                                             for the
                                                                        District of Hawaii

                  In the Matter of the Search of                                 )
             (Briefly describe the property to be searched                       )
              or identify the person by name and address)                        )      Case No. 21-00182 KJM
      Two black cellular phones seized on November 19,                           )
      2019, currently located at a HSI Evidence Storage                          )
                 Facility In Honolulu, Hawaii                                    )

                 WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
To:       A:ny authorized law enforcement officer
         An application by a federal law enforcement officer or an attorney for the government requests the search and seizure
of the following person or property located in the   _ __ _ _ _ _ _ District of                            Hawaii
(identify the person or describe the property to be :searched and give its location):
  See Attachments A-1 and A-2.




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal {Identify the p erson or describe the property to be seized):
  See Attachment B.




        YOU ARE COMMANDED to execute this warrant on or before                February 23, 2021        (not to exceed 14 days)
      O in the daytime 6:00 a.m. to 10:00 p.m. 0 at any time in the day or night because good cause has been established.
        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to      Kenneth J. Mansfield, United States Magistrate Judge
                                                                                                       (United States Magistrate Judge)

     O Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriale box)
    0 for _ _ days (not to exceed JO) 0 until, the facts justifying, the later specific date of


Date and time issued:             February 9, 202 1 at 3:40 p.m.


City and stale:      Hono'"'lu'-lu'--''-'-H-"a;_w_a_i_i_ _ _ _ _ __ _ _                                              Kenneth J. Mansfield
                                                                                                                     UnitcJ St11l<:$ Magistrate Judge
